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                        Cap 111 Enterprises LLC, et al. v. Manhattan Beer Distributors, et al., No. 22 Civ. 1408 (CS) (AEK) ‐
                                      Plaintiffs' Search Term Report With Defendants' Additional Terms

                   Documents searched: 417,359
                 Total documents with hits: 4,469
         Total documents with hits, including Family: 8,709

                                Term                            Documents with hits   Documents with hits, including Family     Unique hits
Manhattanbeer*                                                                  700                                    1,080                   235
“Manhattan Beer*”                                                               931                                    1,595                   476
MBeer*                                                                           16                                        19                    5
“ten cent*”                                                                       2                                         2                    0
“ten‐cent*”                                                                       2                                         2                    0
“credit application*”                                                           275                                      453                   260
“bottle bill*”                                                                   13                                        39                    1

Deposit* w/20 (cardboard* OR carrier* OR carton* OR bottle*)                   324                                       465                   122

Refund* w/20 (cardboard* OR carrier* OR carton* OR bottle*)                     137                                      219                     35
refund w/20 deposit*                                                            232                                      547                    121
credit w/20 deposit*                                                          1,775                                    2,328                  1,648
reimburs* w/20 deposit*                                                         169                                      207                     44
return* w/20 deposit*                                                           383                                      767                    144
Andrew w/1 Amerio                                                                 0                                        0                      0
Richard w/1 Onayiga                                                               0                                        0                      0
Anthony w/1 Trocchio                                                            177                                      354                     10
Tony w/1 Trocchio                                                                 0                                        0                      0
William w/1 Davis                                                                 0                                        0                      0
Bill w/1 Davis                                                                    4                                        7                      4
Dania w/1 Luna                                                                    7                                       16                      2
Dania w/2 Serretti                                                                0                                        0                      0
Ruben w/1 Estrella                                                                0                                        0                      0
(redeem* OR redemption*) w/20 (cardboard* OR carrier* OR
carton* OR bottle*)                                                             38                                        38                    36
(redeem* OR redemption*) w/20 deposit*                                          63                                        87                    53
return* w/10 (cardboard* OR carrier* OR carton*)                                94                                       139                    28
(sale* OR sell*) w/10 (cardboard* OR carrier* OR carton*)                       61                                     1,532                    53
Wittels w/1 McInturff                                                           20                                        55                     0
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                                Term                    Documents with hits   Documents with hits, including Family     Unique hits
“Returnable Container Act”                                                9                                        34                   0
“five cents” w/10 bottle*                                                 0                                         0                   0
0.05 w/10 bottle*                                                        10                                        35                   0
“5 cents” w/10 bottle*                                                    9                                        34                   0
1.20 w/10 case*                                                         269                                      576                  179
dollar w/2 (twenty or 20) w/10 case*                                      0                                         0                   0
10 w/1 cent*                                                            181                                    2,547                   88
10‐cent*                                                                 91                                    2,436                    0
